PRoB_1zCaSe 2:03-cr-20005-.]DB Document 243 Filed 08/09/05 Page 1 of 2 Page|D 329

 

(Rev. 3!88} .
UNITED sTATEs DISTRICT COURT Fti-ED BY %___ D.c.
for 05 AUG -9 AH 6= 58
waslean Dis'rRICT oF TENNESSEE means it now
CLEH:<, us rsrr‘t COURT
U.s.A. vs. KYLE BLACK pocket No. I':'B§t:rizlii}tfslit)s

 

 

Petition on Probation and Sllpervised Release

COMES NOW NICOLE D. PETERSON , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Ky|e Black who Was placed on supervision by the Honorable l._
Daniel Breen sitting in the Court at Memr)his, Tennessee , on the 29th day of Januag,;, 2_09§, who fixed the period
of supervision at Two (21Years* , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed special conditions and terms as follows:

(l) The defendant shall serve a period of five (5) months horne confinement (Completed)

(2) The defendant shall participate in drug testing and treatment and mental health counseling as directed by the
probation office.

* Term of Supervised Release began on August 6, 2004.

RESPECTFULLY PRESENTING PETITION FOR ACTI{)N OF COURT FOR CAUSE AS FOLLOWS:
(lf short insert here; iflengthy write on separate sheet and attach)

Pursuant to a Petition on Supervised Release Violation submitted on June 6, 2005, Kyle Black appeared before United
States District Judge J. Daniel Brcen for a final revocation hearing on July Zl, 2005. Judge Breen ordered that Mr.
Black’s Supervised Release be revoked and that he be committed to the custody of the United States Bureau of
Pri sons to be imprisoned for a period of four (4) months with the privilege to voluntarin surrender. The Court allowed
Mr. Black to remain released on his present bond. At that time, he Was informed by both the Court and the Probation
Ofiice that he was to comply With all previous bond conditions as well as contacting lnvestigative Assistant John
Canada every Wednesday until he reports to the BOP.

Kyle Black has failed to comply with bond supervision in that he tested positive for Cocaine on July 25, 2005 and
failed to call IA Canada on July 27 and August 3, 2005, and failed to report forarandom urinalysis on August l, 2005.

PRAYING THAT THE COURT WILL ORDER that a WARRANT be issued for Kyle Black to appear before
the Court to answer to charges of violation of bond supervision

ORDER OF COURT I declare under penalty of perjury that the
q foregoing is true and correct.
C sidered and ord/ered this § day
UM, 20 O‘J , and ordered filed Executed
and a part of the records in the above on AUC¢¢/j 7 "/ IWD§”`

 

  

CaS€.

U. S. Probation Officer

 

Uni@tates District Judge\

Place: Memphis.Tennessee

This document entered on the docket sheet lr;cco)m$giiance __
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RICT COURT- WESTERl\l DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 243 in
case 2:03-CR-20005 was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

